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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Jordan S. Kushner,

Plaintiff,

-vs-                                                        16-cv-2646 SRN/SER

Troy Buhta, Ashlee Lange, Kathleen Temple,
Kristin Tyra, Eric W. Kaler, Linda Lokensgard,

Defendants.

                                  COST JUDGMENT

The costs of the Defendants, Troy Buhta, Ashlee Lange, Kathleen Temple, Kristin Tyra,
Eric W. Kaler, Linda Lokensgard, have been taxed and allowed by the Clerk of this Court
against the Plaintiff, Jordan S. Kushner, as follows:

                                                Claimed Allowed
                     Fees for transcripts        $354.05 $354.05
                     Other costs                  $80.00      $0
                                          Total $434.05 $354.05

Costs, therefore, are taxed against Plaintiff, Jordan S. Kushner, in the amount of $354.05
and judgment is entered accordingly. Motion for review of the Clerk’s decision may be
made within 14 days hereafter in accordance with Local Rule 54.3(c).

Dated at St. Paul, Minnesota, on September 16, 2019.

                                                     KATE M. FOGARTY, CLERK

                                                     By: s/ M. Vicklund

                                                     M. Vicklund
                                                     Deputy Clerk
